
Robert E. Landry, Patrick D. Gallaugher, Kevin P. Fontenot, Scofield, Gerard, Pohorelsky, Gallaugher &amp; Landry, 901 Lakeshore Drive, Suite 900, Lake Charles, LA 70601, (337) 433-9436, COUNSEL FOR DEFENDANT-APPELLANT: Citgo Petroleum Corporation
Craig Isenberg, Kyle W. Siegel, Joshua O. Cox, Barrasso Usdin Kupperman Freeman &amp; Sarver, LLC, 909 Poydras, 24th Floor, New Orleans, LA 70112, (504) 589-9700, COUNSEL FOR DEFENDANT APPELLANT: Citgo Petroleum Corporation
Wells T. Watson, Jake D. Buford, Baggett, McCall, Burgess, Watson &amp; Gaughan, P.O. Drawer 7820, Lake Charles, LA 70606-7820, (337) 478-8888, COUNSEL FOR PLAINTIFF-APPELLEE: Leslie Mouton
Richard Elliott Wilson, Somer G. Brown, Cox, Cox, Filo, Camel &amp; Wilson, LLC, 723 Broad Street, Lake Charles, LA 70601, (337) 436-6611, COUNSEL FOR PLAINTIFF-APPELLEE: Leslie Mouton
Court composed of Sylvia R. Cooks, John D. Saunders, and Elizabeth A. Pickett, Judges.
COOKS, Judge.
For the reasons assigned by this court in Bowling v. CITGO Petroleum Corp. , 18-169 (La.App. 3 Cir. 11/28/18), --- So.3d ----, the judgment of the trial court awarding Leslie Mouton $10,000.00 in damages for fear of developing disease is reversed. In all other respects, the judgment of the trial court is affirmed.
AFFIRMED IN PART, REVERSED IN PART, AND RENDERED.
Pickett, J. concurs in part and dissents in part for the reasons assigned in 18-169, Bowling v. CITGO Petroleum Corp.
